179 F.2d 680
    William H. HIATT, Warden, United States Penitentiary,Atlanta, Georgia, Appellant,v.William H. JACKSON, Appellee.
    No. 12981.
    United States Court of Appeals Fifth Circuit.
    Feb. 8, 1950.
    
      Appeal from the United States District Court for the Northern District of Georgia; E. Marvin Underwood, Judge.
      Seymour W. Wurfel, Lt. Col.  JAGC, 3rd.  Army, Fort McPherson, Ga., Eugene M. Caffey, Col.  JAGC. 3rd.  Army, Fort McPherson, Ga., J. Ellis Mundy, U.S. Atty., Atlanta, Ga., Harvey H. Tisinger, Asst. U.S. Atty., Atlanta, Ga., Woodrow W. Atkins, Major, JAGC, 3rd Army, Fort McPherson, Ga., for appellant.
      Wm. H. Jackson, in pro. per.
      Before HUTCHESON, Chief Judge, and WALLER and BORAH, Circuit Judges.
      PER CURIAM.
    
    
      1
      The order appealed from is reversed and the cause is remanded with directions to remand appellee to the custody of appellant and to dismiss the petition.  Whelchel v. McDonald, 5 Cir., 176 F.2d 260.
    
    